                                                      AFFIDAVIT

1.    The basis of the complaint alleges numerous acts committed by me, Brandon
      Lucas.

2.    I, Brandon Lucas, individually does not own the Y ouTube channel where the
      alleged advertisements and information were posted.

3.    The videos posted on You Tube are not mine.

4.    As seen in the videos, I clearly do not post any videos using cheats nor do I direct
      anyone to websites which contain videos using cheats.                  ·

5.    The Plaintiff has never inquired as to.the ownership of the website where these
      videos are posted.

6.    I do pot own any of the websites which sell cheats.

7.    Another entity~ unrelated to me, owns the websites that sell cheats.

a. I do not demonstrate how to use cheats in any videos.

9.    I do not inject code into the game files that modifies Fortnite.

10.   Clearly, the Plaintiff has named the wrong Defendant in this litigation .



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